
ON CONCESSION OF ERROR
PER CURIAM.
The State concedes it was error to adjudicate the defendant, Amanda Renee Chambliss, in violation of probation for count three (DUI) because her probationary period on that count had expired before any steps were taken to revoke her probation. We therefore reverse the order adjudicating her in violation for count three and remand this case to the trial court with directions to discharge Cham-bliss on that count only. We affirm the violation of probation order as to count two, which involved the offense of driving with a suspended license causing death or serious injury.
AFFIRMED in part; REVERSED in part; REMANDED.
ORFINGER, C.J. SAWAYA J., and JACOBUS, senior judge, concur.
